                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

GRETCHEN STUART, M.D., et al.,                    )
                                                  )
                     Plaintiffs,                  )
                                                  )        CIVIL ACTION
v.                                                )
                                                  )        Case No. 1:11-cv-804
JANICE E. HUFF, M.D., et al.,                     )
                                                  )
                     Defendants.                  )
                                                  )

               NOTICE OF SPECIAL APPEARANCE OF PETER IM

       Pursuant to Local Rule 83.1(d), the undersigned counsel hereby provides this

Court with notice of the special appearance in the above-captioned civil action of Peter

Im, and in support thereof, the undersigned counsel states as follows:


       1. Peter Im is a licensed attorney in good standing of the bar of the state of

          Maryland (Bar # 2105130005) and the District of Columbia (Bar # 1617474).

          He has also been admitted to the bar of the U.S. Court of Appeals for the Tenth

          Circuit. He is a Staff Attorney at Planned Parenthood Federation of America,

          1110 Vermont Ave., Washington, DC 20005, and may be reached at 202-973-

          4800 and peter.im@ppfa.org.

       2. Mr. Im agrees that he will be responsible for ensuring the presence of an

          attorney who is familiar with the case and has authority to control the litigation

          at all conferences, hearings, trials, and other proceedings, and that he submits




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          to the disciplinary jurisdiction of the Court for any misconduct in connection

          with this litigation.


   WHEREFORE, notice of the special appearance of Peter Im is hereby provided to this

Court. The undersigned counsel asks that he be noted as counsel of record for Plaintiff

Planned Parenthood South Atlantic, which is a successor-in-interest to Plaintiffs Planned

Parenthood of Central North Carolina and Planned Parenthood Health Systems, Inc., in

this proceeding.


   RESPECTFULLY SUBMITTED this 27th day of June, 2023.


   /s/ Kristi Graunke                           /s/ Peter Im

   Kristi Graunke                               Peter Im
   ACLU of North Carolina                       Planned Parenthood Federation of
   P. O. Box 28004                              America
   Raleigh, NC 27611-8004                       1110 Vermont Ave.
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   COUNSEL FOR PLAINTIFFS
                                                COUNSEL FOR PLANNED
                                                PARENTHOOD SOUTH ATLANTIC




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                             CERTIFICATE OF SERVICE
      I hereby certify that on the 27th day of June, 2023, I electronically filed the

foregoing NOTICE OF SPECIAL APPEARANCE with the clerk of court by using the

CM/ECF system, which will send a notice of electronic filing.


                                                  /s/ Peter Im

                                                  Peter Im
                                                  Planned Parenthood Federation of
                                                  America
                                                  1110 Vermont Ave.
                                                  Washington, DC 20005
                                                  202-973-4800
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                                                  COUNSEL FOR PLANNED
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